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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             PANAMA CITY DIVISION

UNITED STATES OF AMERICA

        VS                                                               CASE NO. 5:98CR8LAC

MARCNEL ST. GEORGE

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on AUGUST 28, 2007
Motion/Pleadings: MOTION FOR RELIEF PURSUANT TO FEDERAL RULE OF CIVIL
PROCEDURE 60(b)(6)
Filed by DEFENDANT PRO SE              on 8/14/2007 Doc.# 463

RESPONSES:
                                               on                      Doc.#
                                               on                      Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the   foregoing,       it   is    ORDERED    this    29 th   day   of
August, 2007, that:
(a) The relief requested is DENIED.
(b) Issue raised could have/should have been raised on direct appeal.




                                                                s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
